Case 1:14-ml-02570-RLY-TAB Document 22411 Filed 07/21/22 Page 1 of 2 PageID #:
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                   IN THE UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF INDIANA
                            INDIANAPOLIS DIVISION
   _______________________________________
   IN RE: COOK MEDICAL, INC., IVC
   FILTERS MARKETING, SALES PRACTICES           Case No. 1:14-ml-2570-RLY-TAB
   AND PRODUCTS LIABILITY LITIGATION            MDL No. 2570
   _______________________________________

    This Document Relates to Plaintiff(s)

    Evie Tancredo, 1:22-cv-01238-JRS-MJD
    _______________________________________


                NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE

COMES NOW, Plaintiff Evie Tancredo (“Plaintiff”) and hereby provides notice, pursuant to ¶ 3

of Case Management Order 28 Screening for Time-Barred Cases (CMO 28) and Fed. R. Civ. P.

41(a)(2), of the voluntary dismissal with prejudice of the above-styled lawsuit as to defendants,

Cook Incorporated, Cook Medical LLC and William Cook Europe ApS (“Cook Defendants”) in

this particular Civil Action No. 1:22-cv-01238-JRS-MJD filed on June 21, 2022. In accordance

with CMO 28, each side will bear its own costs and attorney’s fees.

Date: July 21, 2022

                                                   Respectfully submitted,

                                                    JOHNSON LAW GROUP

                                                    /s/ Basil E. Adham_______
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                                                    Houston, TX 77098
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                                                    E-mail: ivc@johnsonlawgroup.com
                                                    Attorney for Plaintiff
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                                 CERTIFICATE OF SERVICE


       I hereby certify that on this 21st day of July 2022, I electronically transmitted the foregoing

Notice of Voluntary Dismissal With Prejudice to the Clerk’s office using the CM/ECF System for

filing and transmittal of a Notice of Electronic Filing to the attorneys who are registered with the

Court’s electronic filing system.



                                                              /s/ Basil E. Adham
                                                              Basil E. Adham
